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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 FEDERAL TRADE COMMISSION and                      Case No. 1:17-cv-00124-LLS
 THE PEOPLE OF THE STATE OF NEW
 YORK, by LETITIA JAMES, Attorney
 General of the State of New York,
                       Plaintiffs,
                       v.
 QUINCY BIOSCIENCE HOLDING
 COMPANY, INC., a corporation;
 QUINCY BIOSCIENCE, LLC, a limited
 liability company;
 PREVAGEN, INC., a corporation
 d/b/a/ SUGAR RIVER SUPPLEMENTS;
 QUINCY BIOSCIENCE
 MANUFACTURING, LLC, a limited
 liability company; and
 MARK UNDERWOOD, individually and as
 an officer of QUINCY BIOSCIENCE
 HOLDING COMPANY, INC., QUINCY
 BIOSCIENCE, LLC, and PREVAGEN,
 INC.,
                       Defendants.


        NOTICE OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law,

Defendants’ Rule 56.1 Statement of Undisputed Facts, the Declaration of Glenn T. Graham, Esq.

dated April 14, 2022, together with exhibits A through PP attached thereto, the Declaration of

Todd Olson dated April 14, 2022, together with exhibits A through F attached thereto, the

Declaration of Mark Underwood dated April 12, 2022, together with exhibits A through U attached

thereto, and all of the pleadings and proceedings heretofore filed and had herein, Defendants

Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC, Prevagen, Inc., and Quincy
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Bioscience Manufacturing, LLC, and Mark Underwood,1 by and through their attorneys, Kelley

Drye & Warren LLP will move this Court before the Honorable Louis L. Stanton, United States

District Judge for the Southern District of New York, located at 500 Pearl Street, Courtroom 21C,

New York, New York 10007, at a date and time to be determined by the Court, for an Order,

pursuant to Rule 56 of the Federal Rules of Civil Procedure, granting summary judgment in favor

of Defendants and such other and further relief as the Court may deem just and proper.




1
  Mr. Underwood has brought his own motion for partial summary judgment on jurisdictional
grounds separately and without waiver of his rights to join Quincy’s arguments set forth, and
relief requested, herein. See Dkt Nos. 210, 211.
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                                      KELLEY DRYE & WARREN LLP

Dated: April 14, 2022                 By: /s/ Geoffrey W. Castello
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                                      Holding Company, Inc., Quincy Bioscience,
                                      LLC, Prevagen, Inc. d/b/a Sugar River
                                      Supplements, and Quincy Bioscience
                                      Manufacturing, LLC


                                      COZEN O’CONNOR P.C.

                                      By: /s/ Michael de Leeuw
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